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 8 2012 Revocable Family Trust, dated May 22,
   2012; DOUGLAS WERTHEIMER and BETHA.
 9 MITCHNER, Trustees of the Mitchner
   Wertheimer Revocable Trust dated October 14,
10 2014; and DANIEL RABB and ALISON RABB,
   Trustees of the Rabb Family Trust dated August
11 6, 2014

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22 Attorneys for Plaintiff Brian Whitaker

23                                     UNITED STATES DISTRICT COURT

24                     NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

25

26 BRIAN WHITAKER,                                     Case No. 4:21-cv-06411-KAW

27                        Plaintiff,                   STIPULATION AND REQUEST TO
                                                       EXTEND TIME TO CONDUCT JOINT
28                v.                                   SITE INSPECTION

     69911642v1                                                         Case No. 4:21-cv-06411-KAW
                  STIPULATION AND REQUEST TO EXTEND TIME TO CONDUCT JOINT SITE INSPECTION
         Case 4:21-cv-06411-KAW Document 28 Filed 03/02/22 Page 2 of 4




 1
   MAI FAMILY CORPORATION, a California
 2 Corporation; KEN WEI and CHIAYU J. WEI,
   Trustees of the Ken G. and Chiayu J. Wei
 3 2012 Revocable Family Trust, dated May 22,
   2012; DOUGLAS WERTHEIMER and
 4 BETHA. MITCHNER, Trustees of the
   Mitchner Wertheimer Revocable Trust dated
 5 October 14, 2014; and DANIEL RABB and
   ALISON RABB, Trustees of the Rabb Family
 6 Trust dated August 6, 2014,

 7                      Defendant.

 8

 9

10        STIPULATION AND REQUEST TO EXTEND TIME TO CONDUCT JOINT SITE
11                                              INSPECTION
12                Plaintiff Brian Whitaker ("Plaintiff") and Defendants MAI FAMILY CORPORATION, a
13 California Corporation; KEN WEI and CHIAYU J. WEI, Trustees of the Ken G. and Chiayu J.

14 Wei 2012 Revocable Family Trust, dated May 22, 2012; DOUGLAS WERTHEIMER and

15 BETHA. MITCHNER, Trustees of the Mitchner Wertheimer Revocable Trust dated October 14,

16 2014; and DANIEL RABB and ALISON RABB, Trustees of the Rabb Family Trust dated August

17 6, 2014 (collectively "Defendants") have been coordinating and negotiating regarding barrier

18 removal issues and resolution of this matter, and seek to reach agreement regarding such issues.
19 Furthermore, Defendant's counsel has prior commitments, including a potential trial, during the

20 month of February. If the Parties cannot fully resolve these issues and come to a finalized

21 settlement agreement, the Parties intend to scheduled and conduct a joint site inspection before the

22 proposed deadline of March 2, 2022.

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     69911642v1                                     2                   Case No. 4:21-cv-06411-KAW
                  STIPULATION AND REQUEST TO EXTEND TIME TO CONDUCT JOINT SITE INSPECTION
         Case 4:21-cv-06411-KAW Document 28 Filed 03/02/22 Page 3 of 4




 1                Thus, Plaintiff and Defendants jointly stipulate to extend the time for the parties to conduct

 2 the joint site inspection from November 11, 2021 to the new date of March 2, 2022.

 3

 4 DATED: February 11, 2022                          JEFFER MANGELS BUTLER & MITCHELL LLP
                                                     MARTIN H. ORLICK
 5                                                   STUART K. TUBIS
                                                     CHRISTOPHER WHANG
 6

 7

 8                                                   By:
                                                                            Martin H. Orlick
 9                                                         Attorneys for KEN WEI and CHIAYU J. WEI,
                                                           Trustees of the Ken G. and Chiayu J. Wei 2012
10
                                                           Revocable Family Trust, dated May 22, 2012;
11                                                         DOUGLAS WERTHEIMER and BETHA.
                                                           MITCHNER, Trustees of the Mitchner
12                                                         Wertheimer Revocable Trust dated October 14,
                                                           2014; and DANIEL RABB and ALISON RABB,
13                                                         Trustees of the Rabb Family Trust dated August 6,
                                                           2014
14

15
     DATED: February 11, 2022                        LOSCH EHRLICH & MEYER
16                                                   JOSEPH EHRLICH

17

18
                                                     By:          /s/ Joseph Ehrlich
19
                                                                          JOSEPH EHRLICH
20                                                         Attorneys for Defendant Mai Family Corporation

21

22 DATED: February 10, 2022                          CENTER FOR DISABILITY ACCESS
                                                     AMANDA SEABOCK
23                                                   PRATHIMA PRICE
                                                     DENNIS PRICE
24

25

26                                                   By:           /s/ Cara Townsend
                                                                          CARA TOWNSEND
27                                                         Attorneys for Plaintiff Brian Whitaker
28

     69911642v1                                     3                   Case No. 4:21-cv-06411-KAW
                  STIPULATION AND REQUEST TO EXTEND TIME TO CONDUCT JOINT SITE INSPECTION
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 1                                                    ORDER
 2                Having considered the parties' Stipulation and Request to Extend Time to Conduct Joint

 3 Site Inspection, and for good cause shown, the Court hereby orders as follows:

 4 IT IS THUS ORDERED that:

 5                1.     The Joint Site Inspection will be continued to March 2, 2022.

 6

 7 DATED: March 2, 2022

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 9
                                                       Honorable Judge Kandis A. Westmore
10                                                     United States District Court, Northern District of
                                                       California
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     69911642v1                                     4                   Case No. 4:21-cv-06411-KAW
                  STIPULATION AND REQUEST TO EXTEND TIME TO CONDUCT JOINT SITE INSPECTION
